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17
                     IN THE UNITED STATES DISTRICT COURT
18
                       SOUTHERN DISTRICT OF CALIFORNIA
19
   OMNITRACS, LLC AND XRS                        Case No. 3:20-cv-0958-CAB-DDL
20 CORPORATION,
21                 Plaintiffs,                 DEFENDANT PLATFORM
                                               SCIENCE, INC.’S PROPOSED
22        v.                                   CURATIVE JURY INSTRUCTIONS
23
   PLATFORM SCIENCE, INC.                        District Judge: Hon. Cathy Ann
24                Defendant.                     Bencivengo
                                                 Magistrate Judge: David D. Leshner
25
26                                               Trial Date:     July 8, 2024
                                                 Trial Time:     9:00 a.m.
27                                               Courtroom:      15A
28

                     DEFENDANT’S PROPOSED CURATIVE JURY INSTRUCTIONS
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 1      JURY INSTRUCTION NO.___[PLATFORM SCIENCE’S PROPOSAL]
 2         You have seen documents and heard argument and testimony alleging copying
 3   by Platform Science. This includes assertions in questions and testimony that
 4   information belonged to Plaintiffs and was received by Platform Science or
 5   individuals associated with Platform Science. This evidence includes 2014 and 2015
 6   emails involving Michael Bray, Jake Fields, and Jack Kennedy regarding public hours
 7   of service information, federal government rules, YouTube links, economic models,
 8   and market information; and emails between Schneider and Platform Science
 9   concerning Schneider information and data. You have also heard generic assertions
10   by Plaintiffs and their witnesses that Platform Science copied “core technologies,”
11   “patented inventions,” and other similar statements without analysis. This is not
12   evidence of copying and you may not use it as such and may not be used for purposes
13   of alleged willful infringement.
14         Further, that one company was founded before another, or that the two
15   companies compete in the same market, or that former employees now work for
16   Platform Science, without more, may also not be used to establish copying for any
17   purpose.
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 1   I.    ARGUMENT
 2         Throughout this trial, Plaintiffs introduced evidence and made arguments about
 3   alleged copying that turned out to be legally irrelevant and highly prejudicial. This
 4   purported copying evidence included 2014 and 2015 emails involving Michael Bray,
 5   Jack Kennedy, and Jake Fields concerning public HOS information, federal
 6   regulations, YouTube links, economic models, and marketing information. Plaintiffs
 7   did the same thing with emails from Schneider to Treeline, which contained
 8   Schneider’s data, not Omnitracs’ data. Plaintiffs and their witnesses also made
 9   generic allegations that Platform Science copied things such as “core technologies”
10   and “patented inventions,” without analysis to back it up. This is not evidence of
11   copying and has a potentially dangerous prejudicial effect. A curative instruction is
12   warranted.
13         Copying does not create a wide-open door through which evidence may be
14   entered to impugn a party. Rightfully, it is a narrow doctrine under which the evidence
15   must be tied to the patented features. This was the message sent by Judge Bryson:
16   “[T]he Court agrees with [the defendant] that evidence of copying that is unconnected
17   to the commercial embodiments of the patent—such as marketing, branding, and
18   websites—has little probative value and carries a significant risk of distracting the
19   jury from the issue of patent infringement.” Sonos, Inc. v. D&M Holdings Inc., 2017
20   WL 5633204, at *3 (D. Del. Nov. 21, 2017). The Sonos court quoted Amazon.com,
21   Inc. v. Barnesandnoble.com, Inc., 239 F.3d 1343, 1366 (Fed.Cir.2001), in which the
22   Federal Circuit stated: “evidence of copying [the patentee’s product] is legally
23   irrelevant unless the [product] is shown to be an embodiment of the claims.”
24         A.     2014-2015 Emails Involving Michael Bray, Jack Kennedy, and
25                Jake Fields
26         Plaintiffs introduced several exhibits related to a series of emails and
27   attachments containing non-patented evidence sent to Platform Science employees or
28   people who would later become Platform Science employees. See Exhibit Nos. 623,

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 1   859 (excerpted below), 961, 981, 1165, 1168, 1169, 1173, 1176, 1181. As an
 2   example, the following email that contains links to public documents—HOS
 3   regulations, FMCSA web site, and Omnitracs web site—was shown multiple times
 4   during the trial. This document is emblematic of Plaintiffs’ approach to this case:
 5   show the jury emails conveying public information that is unrelated to their patented
 6   products, and insinuate that Platform Science conspired to copy Plaintiffs’ outdated
 7   technology that the market had rejected:
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24         The first group of exhibits (859, 961, 981, 1168, and 1181) relate to Plaintiffs’
25   MCP product, either by reference to Plaintiffs’ hours-of-service offering (e.g., Ex.
26   981.0002) or relationship with Schneider (e.g., Ex. 1181.0012). Because the parties
27   do not dispute that the MCP is a non-practicing product, its reference in these
28   documents is legally irrelevant to show copying. See Amazon.com, 239 F.3d at 1366.

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 1   The second group of exhibits (1165, 1169, and 1176) relate to business and/or
 2   financial plans, which are clearly non-technical and have no relation to the patented
 3   features. The third group of exhibits (623 and 1173) relate to Plaintiffs’ acquisition of
 4   XRS, and again, have no relation to the patented features.
 5         Plaintiffs’ sole purpose for discussing these exhibits was so confuse and
 6   mislead the jury into believing Platform Science is a copyist or willful infringer. Such
 7   non-patented evidence or information is not probative of any issue in this case,
 8   including alleged willful infringement or alleged copying, and it is unfairly prejudicial
 9   as it has nothing to do with patents or patent infringement. See Masimo Corp. v.
10   Philips Elec. N. Am. Corp., 2014 WL 4652333, at *1 (D. Del. Sept. 12, 2014)
11   (“[Plaintiff] may only present evidence of ‘copying’ by [defendant] if [plaintiff] is
12   able to establish a nexus between the evidence of copying and the patents-in-suit.”).
13         B.     Emails from Schneider to Treeline
14         Plaintiffs used at least two other exhibits to insinuate Schneider improperly
15   shared its information. See Ex. 840 and 1142. Yet, Plaintiffs’ counsel told the jury
16   that “this case is not about what’s Schneider data and what’s not”: Trial Tr. 1197:16-
17   20 (“Q. You talked a lot about what's Schneider data and what's not Schneider data.
18   But you understand that this case is not about what's Schneider data and what's not;
19   it's about whether Platform Science infringes Omnitracs' patents, right? A. Yes, I
20   understand that, yes.”). Ex. 840 is a document from October 2016 where Schneider is
21   discussing “Omnitracs messages” with Treeline for the purpose of testing whether
22   Shneider’s backend could accept them. However, its undisputed that the only products
23   used by Schneider during this timeframe were Plaintiffs’ MCP product, which is a
24   non-practicing product as discussed previously. Accordingly, there was no testimony
25   tying this document to “embodied patented aspects” and this document is legally
26   irrelevant. See Trial Tr. 601:15-21 (“[T]he overarching sort of theme here is that there
27   was some nefarious thing going on between Schneider and Platform Science to use
28   Omnitracs' secret, confidential, proprietary information. And again, this is not a trade

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 1   secret case. So it’s really disturbing to me that that seems to be a theme here, and I
 2   think it's going over the line for your copying argument.”);
 3         Similarly, Ex. 1142 is a document from December 2016 the references
 4   “macros” that Plaintiffs claimed was tied to the ’308 patent. Again, it is undisputed
 5   that the only Plaintiffs’ products used by Schneider during this timeframe were
 6   Plaintiffs’ non-practicing MCP products.
 7         C.     “Core patented technologies,” “patented features,” “core features”
 8         During trial, the Court warned Plaintiffs on several occasions about making
 9   general allegations or assertions of copying without reference to or analysis of what
10   was copied, when it was copied, and how it is the same as the claimed invention. See,
11   e.g., Trial Tr. at 389:10-390:6; 398:23-400:4; 600:23-602:6; 874:25-884:10; 398:23-
12   400:2 (“[T]he concern the Court is having is this generic sort of inference given to the
13   jury using expressions like ‘core patent technologies’ and ‘key features,’ neither of
14   which are real. They are just broad statements.”). Statements like these taint the jury
15   and are unfairly prejudicial to Platform Science as it has nothing to do with patents
16   and was never tied to the embodied patented aspects. See Trial Tr. at 389:11-13 (“You
17   keep talking about ‘core patented features.’ That means nothing. That means nothing.
18   I don’t know what that’s talking about.”); 398:23-400:2 (“[T]he concern the Court is
19   having is this generic sort of inference given to the jury using expressions like ‘core
20   patent technologies’ and ‘key features,’ neither of which are real. They are just broad
21   statements.”); 400:15-18 (“But I am just not comfortable with this sort of generic,
22   ‘Well, they are the core features, the pioneered features.’ That’s not telling the jury
23   anything except creating an impression that you own any sort of telematics
24   procedures.”).
25         The Court made clear when deciding Platform Science’s MIL No. 2 and MIL
26   No. 4 that Plaintiffs must tie any evidence of copying to the patented features. PTC
27   Tr. 58:16-59:1; 63:7-20; see also 4/25/2022 Mot. to Dismiss Hearing Tr. at 7:10-18
28   (“I think the facts that they have alleged, if the Court must accept them as I must at

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 1   this point in time as true, are sufficient to plausibly allege that the infringement
 2   resulted from knowledge of the patents and some intent to copy that technology. That
 3   may not play out. And if, in fact, your allegations ultimately show that there was no
 4   good faith factual basis for it, that's something the Court may consider down the road,
 5   but I'm not going to strike the willfulness charge and so that part of the motion is
 6   denied.”).
 7         The case law makes clear that Plaintiff's burden to show copying is significant:
 8   not only does it have to demonstrate access, analysis, and similarity between the
 9   Accused Products and Plaintiffs' product, but Plaintiffs must also establish that
10   allegedly copied product embodied the claimed inventions of which Defendant is
11   accused of infringing. Finjan, Inc. v. Blue Coat Sys., Inc., No. 13-CV-03999-BLF,
12   2015 WL 4129193, at *6 (N.D. Cal. July 8, 2015) (“T]here is significant prejudice
13   associated with this evidence, as a jury may use evidence of copying to unfairly
14   conclude that Defendant's products infringe the patents-in-suit.”); Amazon.com, 239
15   F.3d at 1366 (Fed. Cir. 2001); Sonos, 2017 WL 5633204, at *3. Plaintiffs have failed
16   to do so here. Their sole purpose for discussing this non-patented evidence was to
17   confuse and mislead the jury into believing Platform Science is a copyist or willful
18   infringer.
19         Accordingly, Platform Science hereby files the accompanying curative jury
20   instruction to avoid unfair prejudice to Platform Science.
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